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                    IN THE DISTRICT COURT OF THE UNITED STATES
                        FOR THE DISTRICT OF SOUTH CAROLINA
                                 COLUMBIA DIVISION


SOUTH CAROLINA STATE                          )
CONFERENCE OF THE NAACP,                      )         C/A No. 3:22-cv-01007-MGL
                                              )
                            Plaintiff,        )
                                              )           ORDER OF DISMISSAL
           vs.                                )
                                              )
TONNYA K. KOHN, in her official               )
capacity as South Carolina State Court        )
Administrator; DONALD W. BEATTY, in )
his official capacity as Chief Justice of the )
South Carolina Supreme Court,                 )
                                              )
                            Defendants.       )
                                              )



                The Court having been advised by counsel for the parties that the above action has

been settled,

                IT IS ORDERED that this action is hereby dismissed without costs and without

prejudice. If settlement is not consummated within sixty (60) days, any party may petition the

Court to reopen this action and restore it to the calendar. Rule 60(b)(6), F.R.Civ.P. In the

alternative, to the extent permitted by law, any party may within sixty (60) days petition the

Court to enforce the settlement. Fairfax Countywide Citizens v. Fairfax County, 571 F.2d 1299

(4th Cir. 1978). By agreement of the parties, the court retains jurisdiction to enforce the

settlement agreement. Kokkonen v. Guardian Life Ins. Co., 511 U.S. 375, 381-82 (1994).
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               The dismissal hereunder shall be with prejudice if no action is taken under

either alternative within sixty (60) days from the filing date of this order.

               IT IS SO ORDERED.

                                               s/Mary Geiger Lewis
                                               MARY GEIGER LEWIS
                                               UNITED STATES DISTRICT JUDGE
Columbia, South Carolina
May 31, 2023
